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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                           )
In re:                                                     )   Chapter 11
                                                           )
WHITING PETROLEUM CORPORATION,                             )   Case No. 20-32021 (DRJ)
et al.,1                                                   )
                                                           )   (Joint Administration Requested)
                                    Debtors.               )   (Emergency Hearing Requested)
                                                           )

                     DECLARATION OF JEFFREY S. STEIN,
                 CHIEF RESTRUCTURING OFFICER OF WHITING
         PETROLEUM CORPORATION, IN SUPPORT OF CHAPTER 11 PETITIONS

          I, Jeffrey S. Stein, hereby declare under penalty of perjury:

          1.     I am the Chief Restructuring Officer of Whiting Petroleum Corporation

(“Whiting”), a corporation organized under the laws of Delaware and one of the above-captioned

debtors and debtors in possession (together with Whiting, collectively, the “Debtors”).

On March 9, 2020, I was appointed as Chief Restructuring Officer of Whiting.                              As Chief

Restructuring Officer, my responsibilities include evaluating restructuring and refinancing

alternatives regarding Whiting and its subsidiaries and negotiating with the Debtors’ stakeholders.

In my capacity as Chief Restructuring Officer, I am generally familiar with the Debtors’ day-to-

day operations, business and financial affairs, and books and records.

          2.     In addition, I am the Managing Partner of Stein Advisors LLC, which is a financial

advisory firm that provides consulting services to public and private companies and institutional

investors. In this role, I have been engaged as a director and/or officer to support various


1   The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
    number, are: Whiting Canadian Holding Company Unlimited Liability Corporation (3662); Whiting Petroleum
    Corporation (8515); Whiting US Holding Company (2900); Whiting Oil and Gas Corporation (8829); and
    Whiting Resources Corporation (1218). The location of the debtors’ service address is: 1700 Lincoln Street, Suite
    4700, Denver, Colorado 80203.
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companies experiencing significant challenges, including financial restructuring, increased

regulatory oversight, and emergence from bankruptcy. I currently serve as the chief restructuring

officer for Philadelphia Energy Solutions and recently served as the chief restructuring officer of

Westmoreland Coal Company. Prior to founding Stein Advisors LLC in 2010, from January 2003

through December 2009, I served as Principal of Durham Asset Management LLC, which is a

global event-driven distressed debt and special situations equity asset management firm I co-

founded. In that capacity, I was responsible for the identification, evaluation and management of

investments for various investment portfolios. From July 1997 to December 2002, I served as

Co-Director of Research at The Delaware Bay Company, Inc., which is a boutique research and

investment banking firm focused on the distressed debt and special situations equity asset classes.

From September 1991 to August 1995, I was an Associate and Assistant Vice President at

Shearson Lehman Brothers in the Capital Preservation and Restructuring Group. I received a B.A.

in Economics from Brandeis University and an M.B.A. with Honors in Finance and Accounting

from New York University.

       3.      I submit this declaration (this “Declaration”) to assist the United States Bankruptcy

Court for the Southern District of Texas (the “Court”) and parties in interest in understanding the

circumstances that compelled the commencement of these chapter 11 cases and in support of the

Debtors’ petitions for relief under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”) filed with the Court on the date hereof (the “Petition Date”).

       4.      Except as otherwise indicated herein, all facts set forth in this Declaration are based

upon my personal knowledge of the Debtors’ employees, operations and finances, information

learned from my review of relevant documents, information supplied to me by other members of

the Debtors’ management and their advisors, or my opinion based on my experience, knowledge,




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and information concerning the Debtors’ operations, financial affairs, and restructuring initiatives.

I am over the age of 18, and I am authorized to submit this Declaration on behalf of the Debtors.

If called upon to testify, I could and would testify competently to the facts set forth in this

Declaration.

                                               Introduction

        5.      The Debtors ended 2019 standing on solid ground. While the Debtors had more

than $1 billion in unsecured bond debt set to mature prior to December 2020, the Debtors had

significant financial flexibility to restructure their capital structure. Most importantly, the Debtors

began 2020 with a committed revolving credit facility that provided them with committed

financing of up to $1.75 billion—more than enough liquidity to service the Debtors’ 2020

maturities and fund anticipated capital expenditure needs throughout the year. For these reasons,

the Debtors secured a “clean” audit report as recently as February 27, 2020.2

        6.      At the same time, the Debtors began to take proactive steps to optimize their

balance sheet and capital needs. The Debtors recognized that their current asset mix may be

insufficient to best position their business for the long term and, for that reason, the Debtors

engaged advisors—including Moelis & Company (“Moelis”) as financial advisor and

Kirkland & Ellis LLP (“Kirkland”) as restructuring counsel—to supplement their existing advisor

roster and chart a path forward. Through January and February 2020, the Debtors and their

advisors focused on numerous potential alternatives, including merger and acquisition, sale, and

consensual recapitalization options, to expand the size of their business enterprise and address their

funded indebtedness, particularly their senior unsecured note maturities in 2021, 2023, and 2026.



2   On February 27, 2020, the Debtors filed their 10-K annual report with the Securities and Exchange Commission
    with a clean audit report and no going-concern qualification.



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The Debtors also began to evaluate potential liability management transactions (including a

potential restructuring) to reduce their aggregate funded indebtedness, with the goal of addressing

their funded debt maturities prior to December 2020, when the RBL Facility (as defined below)

matures absent repayment of the Debtors’ senior unsecured notes due 2021. To facilitate these

efforts, the Debtors: (a) commissioned updated noteholder identification reports; (b) engaged with

the Debtors’ largest unsecured noteholders regarding the need for a potential restructuring; and (c)

encouraged their unsecured noteholders to organize and engage legal counsel and a financial

adviser.

       7.       Through this period of early evaluation, the Debtors fully expected to utilize

availability under the RBL Facility to make the $190 million maturity payment of the convertible

notes on April 1, 2020, which the Debtors believed would best position their enterprise to address

their bond maturities in 2021, 2023, and 2026.

       8.       However, in the latter half of March 2020, drastic and unprecedented global events,

including a “price war” between OPEC and Russia and the macroeconomic effects of the

COVID-19 pandemic, forced the Debtors to move quickly to reevaluate their financial position

and immediate next steps. On March 9, 2020, the West Texas Intermediate (“WTI”) index—the

benchmark for U.S.-based oil exploration and production companies—declined 24.59% in a single

day.   Since mid-March, major oil indexes experienced numerous subsequent drops and

U.S. indexes have hovered around $20 per barrel—a level unseen in nearly twenty years. The

market turmoil in March took a toll on both energy markets and the financial system as a whole,

as institutions grapple with significant levels of economic uncertainty. The corresponding effect

of these trends on Whiting’s common stock has been devastating. Between March 2 and March

27, Whiting’s stock price dropped from $1.70/share to $0.80/share, a drop of approximately 53%.




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       9.      The recent extreme and sudden downturn fundamentally changed the economic

landscape surrounding the Debtors’ deleveraging options. Whiting and its Board of Directors

immediately snapped into action to address the unprecedented situation. On March 19, 2020, the

Board of Directors conferred with the Debtors’ management team and advisors regarding their

options. Thereafter, the Board of Directors, in a sound exercise of its fiduciary duties, directed the

Debtors to draw down an amount under the RBL Facility sufficient to ensure that the Debtors had

more than adequate liquidity to operate through 2020. That same day, the Debtors retained

Alvarez & Marsal North America, LLC (“A&M”) as restructuring advisor to assist with liquidity

management.

       10.     On March 23, 2020, the Debtors drew down $650 million from the RBL Facility.

Immediately thereafter, the Debtors commenced discussions with the RBL Lenders regarding the

Debtors’ anticipated path forward. The Debtors also engaged with an ad hoc group of the Debtors’

unsecured noteholders (the “Ad Hoc Group”) represented by Paul, Weiss, Rifkind, Wharton &

Garrison LLP, as legal counsel, and PJT Partners, LP, as financial advisor. The Debtors’

discussions with the RBL Lenders and the Ad Hoc Group included whether to pay off the 2020

convertible notes (which were trading between 50 and 70 cents following the March 9 oil price

collapse) at maturity on April 1, 2020, which the Ad Hoc Group informed the Debtors in writing

its members strongly opposed, in favor of a comprehensive restructuring premised on a debt-for-

equity swap that would leave the holders of the Debtors’ convertible notes and senior unsecured

notes with substantially all of Whiting’s equity.

       11.     The Debtors and the Ad Hoc Group also began to engage regarding a potential

comprehensive restructuring transaction. To facilitate these discussions, several members of the

Ad Hoc Group became restricted under confidentiality agreements and the Debtors provided




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requested diligence to the Ad Hoc Group and its advisors. The Debtors and the Ad Hoc Group

ultimately exchanged numerous term sheets regarding a consensual debt-for-equity exchange to

be implemented pursuant to a prearranged chapter 11 plan of reorganization.

       12.    In response, Whiting’s Board of Directors focused on whether to pay the 2020

convertible notes at maturity on April 1, 2020. The Board of Directors evaluated, among other

things, the Debtors’ ability to satisfy in full roughly $2.2 billion in unsecured note maturities

between late 2020 and 2026, including nearly $775 million in December 2020 to avoid a springing

maturity on the RBL Facility. The Board of Directors also considered the possibility that the RBL

Lenders may reduce the Debtors’ borrowing base (which is set for redetermination each May 1

and November 1). The Board of Directors believed that such a reduction might limit the Debtors’

flexibility to use any remaining availability under the RBL Facility to satisfy their funded debt

obligations. Also relevant was the fact that the RBL Facility would mature at the end of 2020

absent the payment in full or refinancing of the 2021 notes. Finally, the Board of Directors

weighed the views of the Debtors’ major funded debt stakeholders, which, as noted above, opposed

paying off the convertible notes and instead favored a comprehensive restructuring. Ultimately,

the Board of Directors, in a sound exercise of its fiduciary duties and upon the advice of the

Debtors’ advisors, elected to forego the $190 million maturity payment on the convertible notes

on April 1, 2020.

       13.    In connection therewith, the Debtors reached an agreement in principle with the

restricted members of the Ad Hoc Group regarding a term sheet (the “Restructuring Term Sheet,”

which is attached hereto as Exhibit A) detailing the terms of a consensual restructuring of the

Debtors’ funded debt obligations through a chapter 11 plan of reorganization (the “Plan”). The

Restructuring Term Sheet represents the cornerstone of the Debtors’ restructuring efforts. As of




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the date hereof, the Debtors have not yet entered into a formal restructuring support agreement (an

“RSA”). However, the Debtors currently anticipate that they will likely enter into an RSA with

certain members of the Ad Hoc Group in the coming days, pursuant to which the Debtors and the

Ad Hoc Group would agree to pursue the restructuring contemplated by the Restructuring Term

Sheet (such signatories to the RSA, the “Consenting Creditors”). The RSA, once finalized, will

empower the Debtors to promptly file, prosecute, and confirm the Plan and expeditiously exit from

chapter 11 thereafter. The principal terms of the Restructuring Term Sheet are as follows:

                Treatment of RBL Facility Claims. The holders of obligations under the
                 RBL Facility would have such obligations refinanced or repaid in full in cash upon
                 the Debtors’ emergence from chapter 11.
                Treatment of Convertible Notes and Senior Notes. The holders of the Debtors’
                 convertible notes and senior unsecured notes would receive 97% of the Debtors’
                 reorganized equity interests. The Debtors and the Consenting Creditors will
                 continue to discuss whether any new debt should also be issued by the reorganized
                 Debtors to holders of the Debtors’ convertible notes and senior unsecured notes
                 depending on market conditions.
                Trade and Other Claims. The Debtors’ other secured, priority, and general
                 unsecured3 claims will ride through the bankruptcy and receive payment in full in
                 cash following emergence.
                Existing Equity Holders. The holders of the Debtors’ existing equity would
                 receive (a) 3% of the Debtors’ reorganized equity interests, (b) warrants to purchase
                 10% of the Debtors’ reorganized equity interests at an implied 110% recovery to
                 holders of the Debtors’ convertible notes and senior unsecured notes at any time
                 prior to 4 years after the consummation of the Plan, and (c) warrants to purchase
                 5% of the Debtors’ reorganized equity interests at an implied 125% recovery to
                 holders of the Debtors’ convertible notes and senior notes at any time prior to 5
                 years after the consummation of the Plan.
                Releases, Exculpation. The Plan contemplated by the RSA would contain typical
                 and customary releases by the Debtors and third parties and exculpation provisions.

        14.      To effectuate the foregoing, on the date hereof, the Debtors commenced cases in

this Court under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). To


3   The treatment of general unsecured claims remains the subject of ongoing negotiations between the Debtors and
    the Consenting Creditors.



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familiarize the Court with the Debtors and their enterprise, I submit this Declaration. This

Declaration is organized into three sections. Part I provides a general overview of the upstream

industry and the Debtors’ business, corporate history, and corporate structure.4 Part II details the

Debtors’ prepetition capital structure.             Finally, Part III describes the Debtors’ prepetition

restructuring efforts, the events and circumstances leading to the filing of these chapter 11 cases,

and proposed timeline for these chapter 11 cases.

                                                   Part I:
                                             General Background

        A.       The Debtors’ Corporate History.

        15.      The Debtors operate an independent exploration and production (“E&P”) company

with an oil-focused asset base. The Debtors’ primary production and development activities are

located in North Dakota and the Rocky Mountain region, with additional oil and gas properties

located in Texas. The Debtors’ assets predominately are mature properties with stable, high-

quality, oil-weighted production.             Headquartered in Denver, Colorado, the Debtors have

approximately 500 employees. The Debtors’ operating revenue for the twelve-month period that

ended December 31, 2019 was approximately $1.6 billion, and, as of the Petition Date, the Debtors

have approximately $3.4 billion in total funded debt obligations.

        16.      Whiting was founded in January 1980 in Denver, Colorado by Kenneth R. Whiting

and Bert Ladd. Mr. Whiting served as President and Chief Executive Officer until 1993 and as a

director until 2008. In 1983, Whiting merged with Keba Oil & Gas and Hingeline-Overthrust to

become a public company. In 1992, Alliant Energy, a Midwest public utility, acquired Whiting as




4   Many of the financial figures presented in this Declaration are unaudited and potentially subject to change, but
    reflect the Debtors’ most recent review of their businesses. The Debtors reserve all rights to revise and supplement
    the figures presented herein.



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a wholly-owned subsidiary. In November 2003, Whiting again became a public company as part

of its initial public offering on the New York Stock Exchange (“NYSE”).

       17.     As of the Petition Date, the Debtors control one of the largest acreage positions in

the Bakken and Three Forks resource play in the Williston Basin of North Dakota and Montana

(the “Williston Basin”), with 471,000 net acres in the oil-productive “sweet spots” of the basin.

From the Bakken and Three Forks resource play, the Debtors have consistently been a top oil

producer in North Dakota. The Debtors also own 86,000 net acres in the eastern Denver-Julesburg

Basin of Colorado (the “DJ Basin”). As of December 31, 2019, the Debtors’ estimated proved

reserves totaled approximately 485.4 million stock tank barrels of oil equivalent (“BOEs”).

The Debtors’ 2019 average daily production was 125,500 BOE per day, resulting in an average

reserve life of approximately 10.6 years.

       18.     The Debtors, like many of their industry peers, experienced significant challenges

over the past several years due to sustained downturns and volatility in commodities markets. Such

challenges have been exacerbated in recent weeks by the unprecedented drop in global energy

prices and market uncertainty due to the combined effects of the COVID-19 pandemic and tensions

between OPEC and Russia.

       19.     Whiting’s common stock trades on the NYSE under the symbol WLL. A simplified

version of the Debtors’ current corporate structure is as follows:




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        B.      The Debtors’ Assets and Operations.

                1.     The Debtors’ Business Strategy.

        20.     Since their inception, the Debtors have built a strong asset base through a

combination of property acquisitions and development of proved reserves and exploration

activities.   The Debtors’ current operations and capital programs focus on organic drilling

opportunities and the development of previously acquired properties. In particular, the Debtors

focus on projects they believe will provide the greatest potential for repeatable success and

production growth. At the same time, the Debtors selectively pursue acquisitions that complement

their existing core properties, including other basins where they can apply their existing knowledge

and expertise to build production and add proved reserves.

                2.     Acquisitions and Divestitures.

        21.     As a result of lower crude oil prices during 2017 and 2018, the Debtors significantly

reduced their level of capital spending and focused their drilling activities on projects they

determined would provide the highest rate of return. During 2019, the Debtors focused on

developing their large resource play in the Williston Basin while continuing to closely align their

capital spending with cash flows generated from operations. The Debtors continually evaluate

their property portfolio and sell properties when the Debtors believe that the sales price realized

will provide an above-average rate of return for the property or when the property no longer

matches the profile of properties the Debtors desire to own.




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22.   The Debtors’ recent acquisitions and divestitures are described below:

             a. 2018 Acquisitions and Divestitures. In July 2018, the Debtors
                completed the acquisition of approximately 54,800 net acres in the
                Williston Basin, including interests in 117 producing oil and gas wells
                and undeveloped acreage located in Richland County, Montana and
                McKenzie County, North Dakota, for an aggregate purchase price of
                $130 million (before closing adjustments). The producing properties
                had estimated proved reserves of 25.7 million BOE as of the acquisition
                date, 84% of which was crude oil and natural gas liquids. The Debtors
                did not have any significant divestitures during the year ended
                December 31, 2018.

             b. 2019 Acquisitions and Divestitures. In July 2019, the Debtors
                completed the divestiture of their interests in 137 non-operated,
                producing oil and gas wells located in McKenzie, Mountrail, and
                Williams counties of North Dakota for aggregate sales proceeds of
                $27 million (before closing adjustments). In August 2019, the Debtors
                completed the divestiture of their interests in 58 non-operated,
                producing oil and gas wells located in Richland County, Montana and
                Mountrail and Williams counties of North Dakota for aggregate sales
                proceeds of $26 million (before closing adjustments). On a combined
                basis, the divested properties consisted of less than 1% of the Debtors’
                estimated proved reserves as of December 31, 2018 and the Debtors’
                April 2019 average daily production.

             c. Recent Acquisitions and Divestitures.                Subsequent to
                December 31, 2019, the Debtors completed the divestiture of their
                interests in 30 non-operated, producing oil and gas wells and related
                undeveloped acreage located in McKenzie County, North Dakota for
                aggregate sales proceeds of $25 million (before closing adjustments).
                The divested properties consisted of less than 1% of the Debtors’
                estimated proved reserves as of December 31, 2019 and 1% of the
                Debtors’ average daily production for the year ended
                December 31, 2019. There were no significant acquisitions during the
                year ended December 31, 2019.




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      3.     The Debtors’ Geography.

             a. Rocky Mountains and North Dakota.

            i.     The Debtors’ Northern Rocky Mountains operations include
                   properties in the Williston Basin targeting the Bakken and Three
                   Forks formations and encompassing approximately 471,000 gross
                   developed and undeveloped acres.

           ii.     The Debtors’ Central Rocky Mountains operations include
                   properties at their Redtail field in the DJ Basin targeting the
                   Niobrara and Codell and Fort Hays formations and encompassing
                   approximately 86,000 gross developed and undeveloped acres.




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           b. Other Regions. Outside of the Rocky Mountains, the Debtors have
              assets in several states including in the Permian basin of West Texas
              and the Gulf Coast.




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                4.      The Debtors’ Operations.

       C.       The Debtors’ Industry.

       23.      The majority of the Debtors’ assets are in the upstream sector of the oil and gas

industry, which is comprised of E&P activities that focus on locating and extracting crude oil, raw

natural gas, and other hydrocarbons from under the ground. Common upstream assets include

wells and simple well pad equipment.        The Debtors focus on the acquisition, exploration,

development, and production of crude oil, natural gas liquids, and natural gas. Although the

Debtors also engage in certain functions such as gathering, processing, and marketing—which are

typically characterized as mid-stream or downstream activities—the Debtors consider such

functions to be ancillary to their upstream E&P activities.

       D.       Marketing, Major Customers, and Delivery Commitments.

       24.      The Debtors principally sell their oil and gas production to end users, marketers,

and other purchasers that have access to nearby pipeline or rail takeaway. In areas where there is

no practical access to gathering pipelines, oil is trucked or transported to terminals, market hubs,

refineries or storage facilities. The table below presents percentages by purchasers that accounted

for 10% or more of the Debtors’ total oil, natural gas liquid, and natural gas sales for the years

ended December 31, 2019, 2018, and 2017:

 Year Ended December 31, 2019

 Tesoro Crude Oil Co.                                                                        14%

 Phillips 66 Company                                                                         12%

 Year Ended December 31, 2018

 United Energy Trading, LLC                                                                  17%

 Tesoro Crude Oil Co.                                                                        14%




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 Phillips 66 Company                                                                         11%

 Year Ended December 31, 2017

 Tesoro Crude Oil Co.                                                                        18%



       25.      The Debtors maintain production sales agreements containing customary terms and

conditions for the oil and natural gas industry, and which generally provide for sales based on

prevailing market prices in the area. These production sales agreements generally have terms of

one year or less.

       26.      As of December 31, 2019, the Debtors were parties to three physical delivery

contracts requiring them to deliver fixed volumes of crude oil. One of these contracts is tied to

crude oil production from the Williston Basin and requires delivery of 10,000 barrels per day for

a term of seven years. The effective date of this agreement is contingent upon the completion of

certain related pipelines, which are currently expected to be brought online in 2021. Under the

terms of this agreement, if the Debtors fail to deliver the committed volumes, they will be required

to pay a deficiency payment of $5.75 per undelivered barrel, subject to upward adjustment, over

the duration of the contract.

       27.      The Debtors’ two remaining physical delivery contracts are effective as of

December 31, 2019. One of these contracts is tied to oil production at the Debtors’ Sanish field in

Mountrail County, North Dakota and is effective for a term of seven years ending May 31, 2024.

The other contract is tied to oil production at the Debtors’ Redtail field in Weld County, Colorado

and terminates in April 2020. The following table summarizes the Debtors’ Sanish and Redtail

delivery commitments as of December 31, 2019:




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             Period           Sanish Contracted        Redtail Contracted    As a Percentage of Total
                              Crude Oil Volumes        Crude Oil Volumes      2019 Oil Production
                                    (Bbl)                     (Bbl)

  January to December 2020         5,490,000               4,140,000                  32%

  January to December 2021         5,475,000                  —                       18%

  January to December 2022         5,475,000                  —                       18%

  January to December 2023         5,475,000                  —                       18%

  January to December 2024         2,280,000                  —                        8%


       E.       Hedge Portfolio.

       28.      To provide protection against volatility in commodity prices, the Debtors have

historically entered into hedging transactions of their oil and natural gas production revenues to

reduce their exposure to fluctuations in the price of oil and natural gas. The Debtors’ hedging

transactions to date have consisted of financially-settled crude oil and natural gas options

contracts—primarily costless collars and swaps—placed with major financial institutions. As of

February 20, 2020, the Debtors had contracts covering the sale of 31 million barrels of oil per day

for the remainder of 2020 and 6 million barrels of oil per day for all of 2021. As of March 31, 2020,

current mark-to-market value of the Company’s hedge contracts is estimated to be approximately

$216.7 million. All of the Debtors’ oil hedges will expire by December 2021.




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                                          Part II:
                          The Debtors’ Prepetition Capital Structure

       29.      As of the Petition Date, the Debtors had approximately $3.4 billion in total funded

debt obligations. The relative priorities of each debt obligation are as follows:


                                                                                   Approx.
                                    Debt                                       Principal Amount
                                                                                 Outstanding
 RBL Facility                                                                       $1.072 billion
 Total Secured Debt                                                                 $1.072 billion
 1.25% Convertible Senior Notes due 2020                                            $189.1 million
 5.75% Senior Notes due 2021                                                        $773.6 million
 6.25% Senior Notes due 2023                                                        $408.3 million
 6.625% Senior Notes due 2026                                                       $1.000 billion
 Total Unsecured Notes                                                              $2.371 billion
 Total Funded Debt Obligations                                                      $3.443 billion

       A.       The RBL Facility.

       30.      On April 12, 2018, the Debtors entered into that certain Seventh Amended and

Restated Credit Agreement, by and among Whiting Oil and Gas Corporation, as borrower,

Whiting, as parent guarantor, the lenders party thereto from time to time (the “RBL Lenders”), and

JPMorgan Chase Bank, N.A., as the administrative agent (as amended, supplemented, or modified

from time to time in accordance with the terms therein, the “Credit Agreement”), which provides

for the Debtors’ reserve-based lending facility (the “RBL Facility”). Pursuant to a certain Second

Amended and Restated Guaranty and Collateral Agreement, the RBL Facility is guaranteed by

each of the Debtors and is secured on a first-priority basis by substantially all of the assets and

stock of the Debtors. The borrowing base of the RBL Facility is $2.05 billion and the aggregate

commitments are $1.75 billion.




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       31.     The maturity date of the RBL Facility is April 12, 2023, subject to a springing

maturity on December 15, 2020 if the 2021 Senior Notes (as defined below) are not paid in full

prior to such date. The RBL Facility accrues interest at a rate per annum equal to: (a) the

alternative base rate plus an applicable margin of 0.5% - 1.5% based on the borrowing base

utilization percentage; or (b) adjusted LIBOR plus an applicable margin of 1.5% - 2.5% based on

the borrowing base utilization percentage.

       32.     The borrowing base under the RBL Facility is subject to redeterminations from time

to time. In October 2019, the borrowing base under the RBL Facility was reduced from $2.25

billion to $2.05 billion in connection with the November 1, 2019, regular borrowing base

redetermination, with no change to the aggregate commitments of $1.75 billion.

       33.     As of the Petition Date, approximately $1.072 billion is outstanding under the RBL

Facility. Additionally, as of the Petition Date, there are approximately $2.0 million in letters of

credit as issued but undrawn under the RBL Facility.

       34.     Additionally, pursuant to the terms of the RBL Facility, the Debtors enter into and

perform under certain hedging arrangements (the “Hedging Arrangements”) to mitigate risks

related to commodity price and interest rate fluctuations. As of the Petition Date, the Debtors are

party to Hedging Arrangements with nine hedging counterparties (individually, a “Hedge

Counterparty,” and, collectively, the “Hedge Counterparties”). While historically the Hedge

Counterparties have consisted of both RBL Lenders or their affiliates, as well as non-RBL Lenders

or affiliates, as of the Petition Date, each of the Hedge Counterparties is an RBL Lender or affiliate

thereof. To the extent that a Hedge Counterparty is an RBL Lender or an affiliate thereof, all

obligations under such Hedging Arrangements are secured by the same collateral that secures the




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RBL Facility.       As of the Petition Date, the Hedging Arrangements have an aggregate

mark-to-market value of approximately $216.7 million (in amounts due to the Debtors).5

        B.      2020 Convertible Senior Notes.

        35.     In connection with entry into that certain indenture, dated as of March 27, 2015

(as amended, supplemented, or modified from time to time in accordance with the terms therein,

the “2020 Convertible Senior Notes Indenture”), by and among Whiting, as issuer, certain

guarantors party thereto, and Bank of New York Mellon Trust Company, N.A., as trustee, the

Debtors issued a series of 1.25% convertible senior notes due 2020 (the “2020 Convertible Senior

Notes”) in an aggregate principal amount of $688 million.

        36.     The 2020 Convertible Senior Notes bear interest at a rate of 1.25% per annum, with

interest payable on April 1 and October 1 of each year, beginning on October 1, 2016. The 2020

Convertible Senior Notes mature on April 1, 2020. As of the Petition Date, approximately

$189.1 million is outstanding under the 2020 Convertible Senior Notes.

        C.      2021 Senior Notes.

        37.     In connection with entry into that certain second supplemental indenture, dated as

of September 12, 2013 (the “2021 Senior Notes Indenture”) to that certain senior indenture dated

as of September 12, 2013 (the “Base Indenture”), by and among Whiting, as issuer, each of the

remaining Debtor entities, as guarantors, and Bank of New York Mellon Trust Company, N.A., as

trustee, Whiting issued a series of 5.75% senior notes due 2021 (the “2021 Senior Notes”) in an

aggregate principal amount of $800 million.

        38.     The 2021 Senior Notes bear interest at a rate of 5.75% per annum. Interest is

payable on the 2021 Senior Notes on March 15 and September 15 of each year, beginning on


5   Calculated as of March 30, 2020.



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March 15, 2014. The 2021 Senior Notes mature on March 15, 2021. As of the Petition Date,

approximately $773.6 million is outstanding under the 2021 Senior Notes.

       D.      2023 Senior Notes.

       39.     In connection with entry into that certain fourth supplemental indenture, dated as

of March 27, 2015 (the “2023 Senior Notes Indenture”) to the Base Indenture, by and among

Whiting, as issuer, each of the remaining Debtor entities, as guarantors, and Bank of New York

Mellon Trust Company, N.A., as trustee, Whiting issued a series of 6.25% senior notes due 2023

(the “2023 Senior Notes”) in an aggregate principal amount of $750 million.

       40.     The 2023 Senior Notes bear interest at a rate of 6.25% per annum. Interest is

payable on the 2023 Senior Notes on April 1 and October 1 of each year, beginning on

October 1, 2015. The 2023 Senior Notes mature on April 1, 2023. As of the Petition Date,

approximately $408.3 million is outstanding under the 2023 Senior Notes.

       E.      2026 Senior Notes.

       41.     In connection with entry into that certain fifth supplemental indenture, dated as of

December 27, 2017 (the “2026 Senior Notes Indenture”) to the Base Indenture, by and among

Whiting, as issuer, each of the remaining Debtor entities, as guarantors, and Bank of New York

Mellon Trust Company, N.A., as trustee, Whiting issued a series of 6.625% senior notes due 2026

(the “2026 Senior Notes”) in an aggregate principal amount of $1.0 billion.

       42.     The 2026 Senior Notes bear interest at a rate of 6.625% per annum. Interest is

payable on the 2026 Senior Notes on January 15 and July 15 of each year, beginning on July 15,

2018. The 2026 Senior Notes mature on January 15, 2026. As of the Petition Date, approximately

$1.0 billion is outstanding under the 2026 Senior Notes.




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       F.     Equity.

       43.    As of December 31, 2019, Whiting had approximately 91,326,469 shares of

common stock outstanding. As of February 20, 2020, there were 444 holders of record of WLL

common stock.

       44.    Since August, 2014, the trading price of WLL common stock has faced downward

pressures proportionate with downturns in commodity markets as depicted below.




       45.    On November 8, 2017, Whiting’s Board of Directors approved a reverse stock split

of the company’s common stock at a ratio of one-for-four and a reduction in the number of

authorized shares of the company’s common stock from 600,000,000 shares to 225,000,000.

Whiting’s common stock began trading on a split-adjusted basis on November 9, 2017, upon

opening of the markets.

       46.    The following graph compares, on a cumulative basis, changes since

December 31, 2014, in the total stockholder return on Whiting common stock with the total return

on the Standard & Poor’s Composite 500 Index, and the total return on the Dow Jones U.S.

Exploration & Production Index. Such changes have been measured by dividing (a) the sum of

(i) the cumulative amount of dividends for the measurement period, assuming dividend


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reinvestment, and (ii) the difference between the price per share at the end of and the beginning of

the measurement period, by (b) the price per share at the beginning of the measurement period.

The graph assumes $100 was invested on December 31, 2014, in Whiting common stock, the

Standard & Poor’s Composite 500 Index and the Dow Jones U.S. Exploration & Production Index,

respectively.




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                                           Part III:
                           Events Leading to These Chapter 11 Cases

       A.      Early 2020: Evaluation of Liability Management Transactions.

       47.     As described above, prior to the March 2020 global collapse of oil prices, the

Debtors were focused on evaluating various transactions that could right-size their assets and

capital structure and set the Debtors on a path for long-term success. As late as February 2020,

the Debtors were evaluating potential merger and acquisition, sale, and consensual recapitalization

options that would allow them to address their significant funded indebtedness, especially the

senior unsecured note maturities in 2021, 2023, and 2026 that totaled $2.2 billion. However, the

Debtors were unable to reach an agreement on any potential liability management transaction at

that time. Nevertheless, at that time, the Debtors expected to draw down on their availability under

the RBL Facility and utilize this cash to pay the $190 million maturity payment of the 2020

convertible notes that was due on April 1, 2020. Thereafter, the Debtors planned to organize their

senior unsecured noteholders to negotiate a liability management transaction, ahead of the maturity

payment on the 2021 senior unsecured notes, which would right-size the Debtors’ balance sheet

and allow them to make their bond maturity payments in 2021, 2023, and 2026.

       B.      Recent Market Volatility and March 2020 Oil Market Crash.

       48.     The Debtors’ plans to pay the $190 million maturity payment of the convertible

notes on April 1, 2020 were completely upended by the sudden crash of oil prices in March.

Historically, markets for oil, natural gas, and natural gas liquid have been volatile. This volatility,

however, has been exacerbated by the sudden, combined impact of the COVID-19 pandemic and

the oil price war between the Kingdom of Saudi Arabia and Russia. This volatility has not only

had a negative impact on commodity markets, but financial markets in general.




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       49.     In early 2020, the initial spread of COVID-19 caused decreased factory output and

transportation demand, resulting in a decline in energy prices. To address this, OPEC, led by the

Kingdom of Saudi Arabia, called for additional cuts in oil production, subject to agreement by

Russia. However, those efforts faltered, and the parties failed to reach an agreement as to

production levels. In the aftermath, both the Kingdom of Saudi Arabia and Russia announced that

they would increase, rather than decrease production, resulting in surplus supply amidst already

decreasing demand for energy. Meanwhile, the COVID-19 pandemic continued (and continues)

to spread at alarming rates causing governments across the world to institute drastic measures that

have decreased energy demand even further.

       50.     The effects on energy markets have been stark.          In March 2020, oil prices

plummeted to near $20 per barrel, the lowest point in nearly twenty years. The effect on all

companies in the oil and gas industry (not just E&P companies) has been undeniable. However,

independent oil and gas companies such as Whiting have been especially hard-hit, as their revenues

primarily are generated from the sale of unrefined oil, natural gas, and natural gas liquids.

       51.     The current volatility in commodity markets has made it especially difficult for

some companies to execute on out-of-court restructuring alternatives. In the first three months of

2020, at least nine large E&P companies and related service providers have filed for chapter 11,

including Kingfisher Midstream, LLC on January 13, 2020; McDermott International, Inc. on

January 21, 2020; Southland Royalty Company, LLC on January 27, 2020; Foresight Energy LP

on March 10, 2020; and Pioneer Energy Services Corporation on March 1, 2020.




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       C.      Negotiations with Key Creditors; Proposed Timeline of These Chapter 11
               Cases.

       52.     As described above, following the sudden crash of oil prices in March 2020, the

Debtors and their advisors immediately revised their prior plans to pursue an out-of-court liability

management transaction later in 2020, and instead evaluated whether it was still appropriate to pay

the $190 million maturity payment due on the 2020 convertible notes. First, the Debtors, with the

input of their advisors, decided to draw down $650 million on the RBL Facility to provide the

Debtors with more than enough liquidity to operate throughout the remainder of 2020.

Second, following the draw-down, the Debtors engaged with their banks and the Ad Hoc Group

regarding the terms of the consensual use of cash collateral and a potential restructuring premised

on a debt-for-equity exchange of the Debtors’ convertible notes and senior unsecured notes. Both

the banks and the Ad Hoc Group were supportive of a potential restructuring, and indicated their

strong preference that the Debtors not make the maturity payment due on April 1, 2020.

       53.     As described further above, in late March 2020, Whiting’s Board of Directors

determined, in a sound exercise of their fiduciary duties, to forego the $190 million maturity

payment in light of, among other things the Debtors’ liquidity and financial condition (in

particular, the Debtors’ ability to make the $2.0 billion in maturity payments due in 2021, 2023,

and 2026), and the opposition by the Debtors’ key stakeholders to such payment.

       54.     The Debtors were able to rapidly negotiate the terms of the consensual use of cash

collateral with the banks under the RBL Facility, which the Debtors expect will provide more than

enough liquidity for the Debtors to operate through the projected timeline of these chapter 11 cases

without the need for incremental postpetition “DIP” financing.

       55.     At the same time, the Debtors immediately began arm’s-length negotiations with

the Ad Hoc Group regarding the terms of a holistic restructuring sponsored by the Ad Hoc Group.



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Certain large holders of the Debtors’ notes executed confidentiality agreements to permit the

exchange of diligence. Immediately prior to the filing of these Chapter 11 Cases, the Debtors

reached an agreement in principle with the restricted members of the Ad Hoc Group regarding the

Restructuring Term Sheet, which serves as the backbone of the Debtors’ restructuring pursuant to

the Plan. A summary of the treatment that would be provided to the Debtors’ stakeholders under

the Plan contemplated by the Restructuring Term Sheet is as follows:6

                           Stakeholder                                          Treatment

         Administrative Claims                            Paid in full in cash on emergence
         RBL Facility Claims                              Paid in full in cash with the proceeds of an
                                                          exit facility or the Debtors’ cash on hand
         Other Secured Claims                             Treatment       rendering    such     claims
                                                          unimpaired pursuant to section 1124 of the
                                                          Bankruptcy Code
         Other Priority Claims                            Treatment       rendering    such     claims
                                                          unimpaired pursuant to section 1124 of the
                                                          Bankruptcy Code
         Senior Notes Claims                              97% of the equity of the reorganized
                                                          Debtors. The Debtors and the Consenting
                                                          Creditors will discuss whether new debt
                                                          should be issued by the reorganized
                                                          Debtors to the holders of Senior Notes
                                                          Claims based on market conditions
         Trade Vendor and               Other     General Treatment       rendering    such     claims
         Unsecured Claims                                 unimpaired pursuant to section 1124 of the
                                                          Bankruptcy Code (subject to continued
                                                          negotiations and discussions between the
                                                          Debtors and the Consenting Creditors)
         Existing Equity Interests                        (a) 3% of the equity of the reorganized
                                                          Debtors, (b) warrants to purchase 10% of
                                                          the Debtors’ reorganized equity interests at
                                                          an implied 110% recovery to holders of the
                                                          Debtors’ convertible notes and senior
                                                          unsecured notes at any time prior to 4 years

6   Defined terms in the below table have the meanings ascribed to such terms in the Restructuring Term Sheet. To
    the extent there is any discrepancy between the summary below and the Restructuring Term Sheet, the
    Restructuring Term Sheet shall control.



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                                                      after the consummation of the Plan, and
                                                      (c) warrants to purchase 5% of the
                                                      Debtors’ reorganized equity interests at an
                                                      implied 125% recovery to holders of the
                                                      Debtors’ convertible notes and senior
                                                      notes at any time prior to 5 years after the
                                                      consummation of the Plan.


       56.     The Debtors anticipate that in the coming days they will finalize and enter into an

RSA with the Consenting Creditors. Thereafter, the Debtors intend to rapidly proceed with the

Plan contemplated by the RSA and Restructuring Term Sheet in order to effectuate this agreed-

upon balance sheet restructuring and facilitate their prompt emergence from chapter 11.

       57.     The Debtors look forward to continuing to engage with their stakeholders

(including any statutory committees) following the Petition Date to build consensus for the RSA

and the Plan and move rapidly towards confirmation of a largely-consensual financial restructuring

that will right-size the Debtors’ balance sheet and position the reorganized Debtors for long-term

success.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

 Dated: April 1, 2020                          /s/ Jeffrey S. Stein
                                               Jeffrey S. Stein
                                               Chief Restructuring Officer
                                               Whiting Petroleum Corporation
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                                     Certificate of Service

        I certify that on April 1, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                            Exhibit A

                     Restructuring Term Sheet
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                                                                 PROPOSED EXECUTION COPY




                        WHITING PETROLEUM CORPORATION
                            RESTRUCTURING TERM SHEET

                                         April 1, 2020


This restructuring term sheet (this “Term Sheet”) presents the principal terms of a proposed
financial restructuring (the “Restructuring”) of the existing indebtedness of Whiting Petroleum
Corporation (“Parent”) and its subsidiaries that are identified below (collectively,
the “Company” or the “Debtors”), which Restructuring will be consummated by commencing
prearranged cases under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) to pursue a chapter 11 plan of reorganization containing the terms set forth herein. This
is the Term Sheet referred to in, and appended to, the Restructuring Support Agreement dated as
of April 1, 2020, by and among the Company and the other parties signatory thereto (as
amended, supplemented, or otherwise modified from time to time, the “RSA”). Capitalized
terms used but not otherwise defined herein will have the meanings ascribed to such terms in
Annex 1.

THIS TERM SHEET DOES NOT CONSTITUTE (NOR WILL IT BE CONSTRUED AS)
AN OFFER WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF
ACCEPTANCES OR REJECTIONS AS TO ANY PLAN OF REORGANIZATION, IT
BEING UNDERSTOOD THAT SUCH AN OFFER, IF ANY, ONLY WILL BE MADE IN
COMPLIANCE WITH APPLICABLE PROVISIONS OF SECURITIES, BANKRUPTCY,
AND/OR OTHER APPLICABLE LAWS.

THIS TERM SHEET DOES NOT PURPORT TO SUMMARIZE ALL OF THE TERMS,
CONDITIONS, REPRESENTATIONS, WARRANTIES, AND OTHER PROVISIONS
WITH RESPECT TO THE TRANSACTIONS DESCRIBED HEREIN, WHICH
TRANSACTIONS WILL BE SUBJECT TO THE COMPLETION OF DEFINITIVE
DOCUMENTS INCORPORATING THE TERMS SET FORTH HEREIN (OTHER
THAN THE RSA). THE CLOSING OF ANY TRANSACTION WILL BE SUBJECT TO
THE TERMS AND CONDITIONS SET FORTH IN SUCH DEFINITIVE DOCUMENTS.
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                                          OVERVIEW

Company:               Parent, Whiting Oil and Gas Corporation, Whiting US Holding Company,
                       Whiting Canadian Holding Company Unlimited Liability Corporation, and
                       Whiting Resources Corporation (collectively, the “Company” or the
                       “Debtors”).

Proposed Filing Date   No later than April 1, 2020 (the “Petition Date”) in the United States
and Venue:             Bankruptcy Court for the Southern District of Texas (the “Bankruptcy
                       Court”).

Claims and Interests   Revolving Credit Agreement Claims: consisting of up to $1.072 billion in
to be Restructured:    principal amount, including reimbursement obligations in respect of letters
                       of credit, plus accrued and unpaid interest (at the non-default rate), fees, and
                       other expenses arising and payable under that certain Seventh Amended and
                       Restated Credit Agreement, dated as of April 12, 2018 (as amended,
                       modified, or otherwise supplemented from time to time, the “Revolving
                       Credit Agreement”), by and among Whiting Oil and Gas Corporation, as
                       borrower, Whiting Petroleum Corporation, as parent guarantor, JPMorgan
                       Chase Bank, N.A., as administrative agent (the “Revolving Credit
                       Agreement Agent”), and the lenders thereunder (together with the other
                       Secured Parties (as defined therein), the “Revolving Credit Agreement
                       Lenders”) (the Claims thereunder, the “Revolving Credit Agreement
                       Claims”) party thereto from time to time.
                       Senior Notes Claims: Approximately $2.371 billion in aggregate principal
                       amount, consisting of:
                       (i) approximately $774 million in principal amount, plus accrued and
                       unpaid interest, fees, and other expenses arising and payable pursuant to the
                       5.750% Senior Notes due 2021 (the “2021 Senior Notes,” and the holders
                       thereof, the “2021 Senior Noteholders”) or that certain indenture, dated as
                       of September 12, 2013 (as amended, modified, or otherwise supplemented
                       from time to time, the “2021 Senior Notes Indenture,” and the Claims
                       thereunder, the “2021 Senior Notes Claims”), under which the 2021 Senior
                       Notes were issued by and among Parent, as issuer, each of the guarantors
                       named therein, as guarantors, and The Bank of New York Mellon Trust
                       Company, N.A., as indenture trustee;
                       (ii) approximately $408 million in principal amount, plus accrued and
                       unpaid interest, fees, and other expenses arising and payable pursuant to the
                       6.250% Senior Notes due 2023 (the “2023 Senior Notes,” and the holders
                       thereof, the “2023 Senior Noteholders”) or that certain indenture, dated as
                       of March 27, 2015 (as amended, modified, or otherwise supplemented from
                       time to time, the “2023 Senior Notes Indenture,” and the Claims
                       thereunder, the “2023 Senior Notes Claims”), under which the 2023 Senior



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                    Notes were issued by and among Parent, as issuer, each of the guarantors
                    named therein, as guarantors, and The Bank of New York Mellon Trust
                    Company, N.A., as indenture trustee;
                    (iii) approximately $1 billion in principal amount, plus accrued and unpaid
                    interest, fees, and other expenses arising and payable pursuant to the
                    6.625% Senior Notes due 2026 (the “2026 Senior Notes,” and the holders
                    thereof, the “2026 Senior Noteholders”) or that certain indenture, dated as
                    of December 27, 2017 (as amended, modified, or otherwise supplemented
                    from time to time, the “2026 Senior Notes Indenture,” and the Claims
                    thereunder, the “2026 Senior Notes Claims”), under which the 2026 Senior
                    Notes were issued by and among Parent, as issuer, each of the guarantors
                    named therein, as guarantors, and The Bank of New York Mellon Trust
                    Company, N.A., as indenture trustee; and
                    (iv) approximately $189 million in principal amount, plus accrued and
                    unpaid interest, fees, and other expenses arising and payable pursuant to the
                    1.250% Convertible Senior Notes due 2020 (the “Convertible Senior
                    Notes,” and the holders thereof, the “Convertible Senior Noteholders,” and
                    together with the 2021 Senior Noteholders, the 2023 Senior Noteholders
                    and the 2026 Senior Noteholders, the “Senior Noteholders”) or that certain
                    indenture, dated as of March 27, 2015 (as amended, modified, or otherwise
                    supplemented from time to time, the “Convertible Senior Notes
                    Indenture,” and the Claims thereunder, the “Convertible Senior Notes
                    Claims,” and together with the 2021 Senior Notes Claims, the 2023 Senior
                    Notes Claims and the 2026 Senior Notes Claims, the “Senior Notes
                    Claims”), under which the Convertible Senior Notes were issued by and
                    among Parent, as issuer, each of the guarantors named therein, and The
                    Bank of New York Mellon Trust Company, N.A., as indenture trustee (in
                    its capacities as indenture trustee under the 2021 Senior Notes Indenture,
                    the 2023 Senior Notes Indenture, the 2026 Senior Notes Indenture, and the
                    Convertible Senior Notes Indenture, the “Senior Notes Trustee”).
                    General Unsecured Claims: consisting of any prepetition Claim against the
                    Company that is not a Revolving Credit Agreement Claim, a Senior Notes
                    Claim, an Intercompany Claim, or a Claim that is secured, subordinated, or
                    entitled to priority under the Bankruptcy Code (the “General Unsecured
                    Claims”).
                    Existing Equity Interests: consisting of the shares of the class of common
                    stock of Parent that existed immediately prior to the Effective Date.
                    Other Equity Interests: consisting of all Interests in Parent other than
                    Existing Equity Interests.

                            TRANSACTION OVERVIEW

Overview of the     The Restructuring will be implemented through prearranged Chapter 11
Restructuring:      Cases by the Company to pursue confirmation of the Plan. Votes on the




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                       Plan will be solicited from (i) holders of Senior Notes Claims and (ii)
                       holders of Existing Equity Interests.
                       As a component of the Restructuring, (i) each Senior Noteholder will
                       receive its Pro Rata share of 97.0% of New Common Shares in exchange
                       for its Pro Rata share of the aggregate amount due under the Senior Notes
                       Claims and (ii) each holder of Existing Equity Interests will be offered its
                       Pro Rata share of 3.0% of New Common Shares and the Warrants.
                       As of the Effective Date, the Revolving Credit Agreement Claims, Senior
                       Notes Claims, Existing Equity Interests, and Other Equity Interests will be
                       cancelled, released, and extinguished and will be of no further force and
                       effect.

Use of Cash            The Restructuring will be financed by consensual use of cash collateral.
Collateral:            The Consenting Creditors shall support any order approving the consensual
                       use of cash collateral (whether interim or final); provided that the interim
                       order shall be substantially in the form attached hereto as Exhibit A

                       TREATMENT OF CLAIMS AND INTERESTS

Administrative         Except to the extent that a holder of an Allowed Administrative Expense
Expense Claims and     Claim or an Allowed Priority Tax Claim agrees to a less favorable
Priority Tax Claims:   treatment, each holder of an Allowed Administrative Expense Claim and an
                       Allowed Priority Tax Claim will receive, in full and final satisfaction of
                       such Claim, Cash in an amount equal to such Allowed Claim on the
                       Effective Date or as soon as practicable thereafter or such other treatment
                       consistent with the provisions of section 1129(a)(9) of the Bankruptcy
                       Code.
Other Secured          Except to the extent that a holder of an Allowed Other Secured Claim
Claims:                agrees to a less favorable treatment, in full and final satisfaction of such
                       Allowed Other Secured Claim, at the option of the Debtors or the
                       Reorganized Debtors (subject to the consent of the Requisite Creditors),
                       (i) each such holder will receive payment in full in Cash, payable on the
                       later of the Effective Date and the date that is ten (10) Business Days after
                       the date on which such Other Secured Claim becomes an Allowed Other
                       Secured Claim, in each case, or as soon as reasonably practicable thereafter,
                       (ii) such holder’s Allowed Other Secured Claim will be reinstated, or
                       (iii) such holder will receive such other treatment so as to render such
                       holder’s Allowed Other Secured Claim unimpaired pursuant to section 1124
                       of the Bankruptcy Code.
                       Unimpaired – Presumed to Accept.
Other Priority         Except to the extent that a holder of an Allowed Other Priority Claim agrees
Claims:                to a less favorable treatment, in full and final satisfaction of such Allowed
                       Other Priority Claim, each holder of an Allowed Other Priority Claim will,



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                           at the option of the Debtors or the Reorganized Debtors (subject to the
                           consent of the Requisite Creditors), (i) be paid in full in Cash or (ii)
                           otherwise receive treatment consistent with the provisions of section
                           1129(a)(9) of the Bankruptcy Code, payable on the later of the Effective
                           Date and the date that is ten (10) Business Days after the date on which
                           such Other Priority Claim becomes an Allowed Other Priority Claim, in
                           each case, or as soon as reasonably practicable thereafter.
                           Unimpaired – Presumed to Accept.

Revolving Credit        The Proceeds of the Exit Facility (if any) and/or the Debtors’ cash on hand
Agreement Claims:       shall be used to repay the Revolving Credit Agreement Claims in full in
Up to $1.072 billion in cash on the terms set forth therein.
principal amount plus Unimpaired – Presumed to Accept
all other outstanding
secured obligations
thereunder

Senior Notes Claims:       On the Effective Date, each holder of an Allowed Senior Notes Claim will
                           receive, in full and final satisfaction of such Allowed Senior Notes Claim,
$2.371 billion
                           its (i) Pro Rata share of 97% of the total New Common Shares issued
Allowed Claim
                           pursuant to the Plan on the Effective Date, subject to dilution by the
                           Warrant Equity and the MIP Equity and (ii) Pro Rata share of take-back
                           debt, if any. The Debtors and Consenting Creditors agree to discuss
                           whether and the extent to which take-back debt will be issued based on
                           market conditions. To the extent any such take-back debt is agreed to, there
                           will be a proportional adjustment to the allocation of New Common Shares
                           and Warrants to take into account the issuance of such take-back debt.
                           Impaired – Entitled to Vote.

General Unsecured          [Each holder of a General Unsecured Claim will be satisfied by payment in
Claims:                    full in cash on the Effective Date or be reinstated.] 1
                           [Unimpaired – Presumed to Accept.]

Existing Equity            On the Effective Date, Existing Equity Interests will be cancelled, released,
Interests:                 and extinguished and will be of no further force and effect. Each holder of
                           Existing Equity Interests will receive such holder’s Pro Rata share of (i) the
                           Warrants provided pursuant to the Plan on the Effective Date, subject to
                           dilution by the MIP Equity, and (ii) 3.0% of the total New Common Shares
                           issued pursuant to the Plan on the Effective Date, subject to dilution by the
                           Warrant Equity and the MIP Equity.

                           Impaired – Entitled to Vote.

 1
         Subject to discussion and agreement between the Company and the Requisite Creditors.




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Other Equity          On the Effective Date, Other Equity Interests will be cancelled, released,
Interests:            and extinguished and will be of no further force and effect.
                      Impaired – Presumed to Reject.

Intercompany          All Intercompany Claims and Intercompany Interests will be reinstated or
Claims and            modified as agreed by the Company and the Requisite Creditors.
Intercompany          Unimpaired – Presumed to Accept or Reject.
Interests:

                                 GENERAL PROVISIONS

Executory Contracts   As of and subject to the occurrence of the Effective Date and the payment
and Unexpired         of any applicable Cure Amount, all executory contracts and unexpired
Leases:               leases to which any of the Debtors are parties shall be deemed assumed,
                      unless such contract or lease (i) was previously assumed or rejected by the
                      Debtors, pursuant to a Final Order of the Bankruptcy Court, (ii) previously
                      expired or terminated pursuant to its own terms or by agreement of the
                      parties thereto, (iii) is the subject of a motion to reject filed by the Debtors
                      on or before the Confirmation Date, (iv) contains a change of control or
                      similar provision that would be triggered by the Restructuring (unless such
                      provision has been irrevocably waived) or (v) is specifically designated as a
                      contract or lease to be rejected on the Schedule of Rejected Contracts;
                      provided, however, that the Requisite Creditors consent to such rejection,
                      such consent not to be unreasonably withheld.

Board of Directors:   The Board of Directors will consist of (i) the Reorganized Debtors’ chief
                      executive officer and (ii) the other directors selected by the Requisite
                      Creditors, whose identities shall be disclosed in the plan supplement (the
                      “New Board”).

Charter, By-Laws      The Amended Organizational Documents will become effective as of the
and Organizational    Effective Date.
Documents:




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Management            The Plan will provide for the establishment of a post-emergence
Incentive Plan:       management incentive plan to be adopted by the New Board
                      (the “Management Incentive Plan”), which will (i) include restricted stock
                      units, options, New Common Shares, or other rights exercisable,
                      exchangeable, or convertible into New Common Shares representing 8.0%
                      of the New Common Shares on a fully diluted and fully distributed basis
                      and assuming the exercise of all of the Warrants (the “MIP Equity”) and
                      (ii) include other terms and conditions customary for similar type equity
                      plans. No less than 50% of the MIP Equity will be granted at emergence to
                      management employees in the form of restricted stock units (or the
                      economic equivalent), on other customary terms and conditions for similar
                      type awards, and which shall vest ratably over three years with the
                      breakdown between time and performance based awards being determined
                      by the New Board.

Severance             The Plan will provide for the implementation at emergence of customary
Arrangements:         severance arrangements for executive officers and other employees on a
                      basis no less favorable than those in existence on the date hereof or with
                      current market practice for a publicly traded company the size and nature of
                      the Company.

KEIP/KERP:            To the extent the Company decides to seek Bankruptcy Court approval of
                      (a) a key employee incentive plan for insider employees (the “KEIP”),
                      and/or (b) a key employee retention plan for key non-insider employees (the
                      “KERP”), the Company shall seek approval of the Consenting Creditors
                      with respect to the terms of such KEIP and/or KERP prior to filing
                      motion(s) seeking approval of the KEIP and/or KERP.

Treatment of all      On the Effective Date of the Plan, all notes, instruments, certificates
Notes, Instruments,   evidencing debt of the Company and Interests in Parent will be treated as
Certificates and      agreed among the Company and the Requisite Creditors.
other Documents:

Vesting of Assets:    On the Effective Date, pursuant to section 1141(b)-(c) of the Bankruptcy
                      Code, all operating assets of the Company will vest in the Reorganized
                      Debtors free and clear of all liens, Claims, and encumbrances, except as
                      otherwise provided by the Plan.

Survival of           Any obligations of the Company pursuant to corporate charters, bylaws,
Indemnification       limited liability company agreements, or other organizational documents to
Obligations and       indemnify current and former officers, directors, managers, members,
D&O Insurance:        agents, or employees with respect to all present and future actions, suits,
                      and proceedings against the Company or such directors, officers, managers,
                      members, agents, or employees, based upon any act or omission for or on
                      behalf of the Company will not be discharged or impaired by confirmation
                      of the Plan. All such obligations will be assumed by the Company under




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                       the Plan (and shall be treated as executory contracts to be assumed under
                       the Plan, to the extent applicable) and will continue as obligations of the
                       Reorganized Debtors. Any Claim based on the Company’s obligations
                       thereunder will be an Allowed Claim.
                       In addition, after the Effective Date, the Reorganized Debtors will not
                       terminate or otherwise reduce the coverage under any directors’ and
                       officers’ insurance policies (including any “tail policy”) in effect or
                       purchased as of the Petition Date, and all members, managers, directors,
                       and officers of the Company who served in such capacity at any time prior
                       to the Effective Date or any other individuals covered by such insurance
                       policies, will be entitled to the full benefits of any such policy for the full
                       term of such policy regardless of whether such members, managers,
                       directors, officers, or other individuals remain in such positions after the
                       Effective Date.

Conditions to          Effectiveness of the Plan will be subject to the satisfaction of customary
Effectiveness:         conditions, including the following (as applicable):
                          i.   the Definitive Documents (as defined in the RSA) will contain terms
                               and conditions consistent in all material respects with this Term
                               Sheet and the RSA;
                        ii.    the Bankruptcy Court will have entered the Confirmation Order, and
                               such Confirmation Order will not have been stayed or modified;
                        iii.   to the extent an Exit Facility is entered into, the Exit Facility,
                               including all documentation related thereto, will have been
                               consummated;
                        iv.    other conditions to be agreed among the Debtors and the Requisite
                               Creditors
                         v.    all governmental approvals, including Bankruptcy Court approval,
                               necessary to effectuate the Restructuring will have been obtained
                               and all applicable waiting periods will have expired; and
                        vi.    all Restructuring Expenses will have been paid in full.
                       The conditions to effectiveness may be waived, in whole or in part, in
                       writing (which may be via e-mail) by the Debtors and the Requisite
                       Creditors.
                       The following Debtor release provision shall appear in the Plan, as may be
Releases by Debtors:
                       modified by written agreement (which may be via e-mail) of the Debtors
                       and the Requisite Creditors:

                       Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
                       consideration, the adequacy of which is hereby confirmed, on and after the
                       Effective Date, each Released Party is deemed to be, hereby conclusively,
                       absolutely, unconditionally, irrevocably, and forever released and
                       discharged by the Debtors, the Reorganized Debtors, and their Estates, in



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                    each case on behalf of themselves and their respective successors, assigns,
                    and representatives, and any and all other Entities who may purport to
                    assert any Cause of Action, directly or derivatively, by, through, for, or
                    because of the foregoing Entities, from any and all Causes of Action,
                    including any derivative claims, asserted on behalf of the Debtors, whether
                    known or unknown, foreseen or unforeseen, matured or unmatured, existing
                    or hereafter arising, in law, equity, contract, tort or otherwise, that the
                    Debtors, the Reorganized Debtors, or their Estates would have been legally
                    entitled to assert in their own right (whether individually or collectively) or
                    on behalf of the holder of any Claim against, or Interest in, a Debtor or
                    other Entity, based on or relating to, or in any manner arising from, in
                    whole or in part, the Debtors (including the Debtors’ capital structure,
                    management, ownership, or operation thereof, including any draws under
                    the Revolving Credit Facility), the assertion or enforcement of rights and
                    remedies against the Debtors, the Debtors’ in- or out-of-court restructuring
                    efforts, any avoidance actions, intercompany transactions between or
                    among a Debtor or an affiliate of a Debtor and another Debtor or affiliate of
                    a Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination,
                    negotiation, or filing of the RSA, the Disclosure Statement, the Plan
                    (including, for the avoidance of doubt, the plan supplement), or any aspect
                    of the Restructuring, including any contract, instrument, release, or other
                    agreement or document created or entered into in connection with the RSA,
                    the Disclosure Statement, or the Plan, the filing of the Chapter 11 Cases, the
                    pursuit of Confirmation, the pursuit of Consummation, the administration
                    and implementation of the Plan, including the issuance or distribution of
                    securities pursuant to the Plan, or the distribution of property under the Plan
                    or any other related agreement, or upon any other act or omission,
                    transaction, agreement, event, or other occurrence taking place on or before
                    the Effective Date related or relating to any of the foregoing.
                    Notwithstanding anything contained herein to the contrary, the foregoing
                    release does not release any obligations of any party under the Plan or any
                    document, instrument, or agreement executed to implement the Plan.

                    Notwithstanding anything contained herein to the contrary, the foregoing
                    release does not release (i) any obligations of any party under the Plan or
                    any document, instrument, or agreement executed to implement the Plan,
                    (ii) any claims related to any act or omission that is determined in a Final
                    Order to have constituted willful misconduct, gross negligence, or actual
                    fraud, (iii) the rights of any current employee of the Debtors under any
                    employment agreement or plan, (iv) the rights of the Debtors with respect to
                    any confidentiality provisions or covenants restricting competition in favor
                    of the Debtors under any employment agreement with a current or former
                    employee of the Debtors, or (v) the rights of Holders of Allowed Claims or
                    Interests to receive distributions under the Plan.

                    The following Releasing Party release provision shall appear in the Plan, as
Releases by
                    may be modified by written agreement (which may be via e-mail) of the



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Releasing Parties:   Debtors and the Requisite Creditors:

                     Except as otherwise expressly set forth in the Plan or the Confirmation
                     Order, on and after the Effective Date, in exchange for good and valuable
                     consideration, the adequacy of which is hereby confirmed, each Released
                     Party is, and is deemed to be, hereby conclusively, absolutely,
                     unconditionally, irrevocably and forever, released and discharged by each
                     Releasing Party from any and all Causes of Action, whether known or
                     unknown, foreseen or unforeseen, matured or unmatured, existing or
                     hereafter arising, in law, equity, contract, tort, or otherwise, including any
                     derivative claims asserted on behalf of the Debtors, that such Entity would
                     have been legally entitled to assert (whether individually or collectively),
                     based on or relating to, or in any manner arising from, in whole or in part,
                     the Debtors (including the Debtors’ capital structure, management,
                     ownership, or operation thereof, including any draws under the Revolving
                     Credit Facility), the Debtors’ in- or out-of-court restructuring efforts,
                     intercompany transactions between or among a Debtor or an affiliate of a
                     Debtor and another Debtor or affiliate of a Debtor, the Chapter 11 Cases,
                     the formulation, preparation, dissemination, negotiation, or filing of the
                     RSA, the Disclosure Statement, the Plan (including, for the avoidance of
                     doubt, the plan supplement), or any aspect of the Restructuring, including
                     any contract, instrument, release, or other agreement or document created or
                     entered into in connection with the RSA, the Disclosure Statement, or the
                     Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
                     pursuit of Consummation, the administration and implementation of the
                     Plan, including the issuance or distribution of securities pursuant to the
                     Plan, or the distribution of property under the Plan or any other related
                     agreement, or upon any other act or omission, transaction, agreement,
                     event, or other occurrence taking place on or before the Effective Date
                     related or relating to any of the foregoing.

                     Notwithstanding anything contained herein to the contrary, the foregoing
                     release does not release (i) any obligations of any party under the Plan or
                     any document, instrument, or agreement executed to implement the Plan,
                     (ii) any claims related to any act or omission that is determined in a Final
                     Order to have constituted willful misconduct, gross negligence, or actual
                     fraud, (iii) the rights of any current employee of the Debtors under any
                     employment agreement or plan, (iv) the rights of the Debtors with respect to
                     any confidentiality provisions or covenants restricting competition in favor
                     of the Debtors under any employment agreement with a current or former
                     employee of the Debtors, or (v) the rights of Holders of Allowed Claims or
                     Interests to receive distributions under the Plan.

                     The following exculpation provision shall appear in the Plan, as may be
Exculpation:
                     modified by written agreement (which may be via e-mail) of the Debtors
                     and the Requisite Creditors:




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                      Except as otherwise specifically provided in the Plan, no Exculpated Party
                      shall have or incur liability for, and each Exculpated Party is hereby
                      released and exculpated from any Cause of Action for any claim related to
                      any act or omission in connection with, relating to, or arising out of, the
                      Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
                      or filing of the Restructuring Support Agreement and related prepetition
                      transactions (including any draws under the Revolving Credit Facility), the
                      Disclosure Statement, the Plan, the plan supplement, or any transaction
                      related to the Restructuring, any contract, instrument, release or other
                      agreement or document created or entered into before or during the Chapter
                      11 Cases, any preference, fraudulent transfer, or other avoidance claim
                      arising pursuant to chapter 5 of the Bankruptcy Code or other applicable
                      law, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
                      pursuit of Consummation, the administration and implementation of the
                      Plan, including the issuance of securities pursuant to the Plan, or the
                      distribution of property under the Plan or any other related agreement,
                      except for claims related to any act or omission that is determined in a Final
                      Order to have constituted actual fraud, gross negligence or willful
                      misconduct, but in all respects such Exculpated Parties shall be entitled to
                      reasonably rely upon the advice of counsel with respect to their duties and
                      responsibilities pursuant to the Plan.

Discharge and         The Plan will contain standard discharge and injunction provisions.
Injunction:

Exemption from        The issuance and distribution under the Plan of the (i) New Common
SEC Registration      Shares and (ii) Warrants will be issued in reliance on the exemption from
                      registration under the Securities Act or applicable securities laws pursuant
                      to section 1145(a) of the Bankruptcy Code.

Securities Issuance   The issuance of the New Common Shares will be subject to the following
Requirements/         requirements (the “Securities Issuance Requirements”):
Registration Rights
Agreement:               •   the issuance of the New Common Shares under the Plan on the
                             Effective Date will be made through the facilities of DTC in
                             accordance with the customary practices of DTC for a mandatory
                             distribution and the Reorganized Debtors will reflect ownership of
                             the New Common Shares through the facilities of DTC; provided,
                             however, that to the extent the New Common Shares are not eligible
                             for distribution in accordance with DTC’s customary practices,
                             Reorganized Parent shall take all such reasonable actions as may be
                             required to cause the distributions of the New Common Shares
                             under this Plan, provided, further, however, that Holders of Existing
                             Equity Interests that are entitled to receive New Common Shares
                             (upon the exercise of their Warrants), but had held such Existing
                             Equity Interests outside of the facilities of DTC, may receive their



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                   New Common Shares by means of book-entry with the Reorganized
                   Debtor’s transfer agent;

               •   no later than seven (7) calendar days prior to the Voting Deadline,
                   the Debtors, with the consent of the Requisite Creditors, shall make
                   a determination as to whether Reorganized Parent will continue to
                   be a reporting company under the Exchange Act, 15 U.S.C. §§ 78(a)
                   – 78(pp) following a date that is on or after the Effective Date (the
                   “Reporting Decision Date”) to be agreed upon by the Debtors and
                   the Requisite Creditors. If the Debtors, with the consent of the
                   Requisite Creditors, determine that Reorganized Parent will
                   continue to be a reporting company under the Exchange Act
                   following the Reporting Decision Date, the Debtors shall use their
                   commercially reasonable efforts to have the New Common Shares
                   listed on the New York Stock Exchange, or another nationally
                   recognized exchange, as soon as practicable following the Effective
                   Date, subject to meeting applicable listing requirements. If the
                   Debtors determine pursuant to this provision that Reorganized
                   Parent will not continue to be a reporting company under the
                   Exchange Act following the Reporting Decision Date, the Debtors
                   shall file a governance term sheet, in form and substance reasonably
                   acceptable to the Company and the Requisite Creditors, with the
                   plan supplement;

               •   the composition of the New Board will (i) if the Debtors, subject to
                   the consent of the Consenting Creditors, determine that Reorganized
                   Parent will continue to be a reporting company under the Exchange
                   Act, comply in all respects with the rules applicable to the nationally
                   recognized exchange on which the New Common Shares are to be
                   listed (and the Requisite Creditors will agree to such modifications
                   to the New Board as are necessary to comply with such
                   requirements) or (ii) if the Debtors, subject to the consent of the
                   Consenting Creditors, determine that Reorganized Parent will not
                   continue to be a reporting company under the Exchange Act, be
                   consistent with the governance term sheet referred to in the
                   immediately preceding provision; and

               •   after the Effective Date, the sale or transfer of the New Common
                   Shares will not be subject to any right of first refusal or right of first
                   offer restrictions in favor of other holders of the New Common
                   Shares.

            Furthermore, on the Effective Date, the Reorganized Debtors, the
            Consenting Creditors and any holder of 10% or more of the New Common
            Shares will be party to a registration rights agreement providing for
            customary demand registration rights with respect to New Common Shares
            held by such Consenting Creditors and holders (the “Registration Rights



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                           Agreement”).
Tax Structure:             To the extent practicable, the Restructuring contemplated by this Term
                           Sheet will be structured so as to obtain the most beneficial tax structure for
                           the Company, its equity holders post-transaction, holders of Existing Equity
                           Interests, and holders of Senior Notes Claims, as determined by the
                           Company and the Requisite Creditors.

Consent Rights of          Notwithstanding anything to the contrary herein or in the Plan, any and all
Consenting                 consent rights of the Consenting Creditors set forth in the RSA with respect
Creditors:                 to the Definitive Documents, including any amendments, restatements,
                           supplements, or other modifications to such documents, will be
                           incorporated into the Plan by reference and fully enforceable as if stated in
                           full in the Plan.

Restructuring              The Company will pay, immediately prior to the Petition Date, all
Expenses:                  Restructuring Expenses, including fees and expenses estimated to be
                           incurred prior to the filing of the Chapter 11 Cases, for which invoices or
                           receipts are furnished by the advisors to the Consenting Creditors at least
                           one (1) Business Day prior thereto.
                           On the Effective Date, without the need to file a fee or retention application
                           in the Chapter 11 Cases, the Company will pay all Consenting Creditor
                           Restructuring Expenses, including unpaid fees and expenses estimated to be
                           incurred through the Effective Date to the extent invoiced at least one (1)
                           Business Day before the Effective Date by the advisors to the Consenting
                           Creditors.
                           On the Effective Date, the Company will pay all unpaid Debtor
                           Restructuring Expenses (in the case of Debtor Restructuring Expenses
                           incurred prior to the Confirmation Date, solely to the extent approved by an
                           order of the Bankruptcy Court), including unpaid fees and expenses
                           estimated to be incurred from the Confirmation Date through the Effective
                           Date to the extent invoiced at least one (1) Business Day before the
                           Effective Date by the advisors to the Debtors.

Retention of               The Plan will provide for a broad retention of jurisdiction by the
Jurisdiction:              Bankruptcy Court for (i) resolution of Claims, (ii) allowance of
                           compensation and expenses for pre-Effective Date services, (iii) resolution
                           of motions, adversary proceedings, or other contested matters, (iv) entry of
                           such orders as necessary to implement or consummate the Plan and any
                           related documents or agreements, and (v) other customary purposes.
Fiduciary Out 2            Notwithstanding anything to the contrary herein, nothing in this Term
                           Sheet, the RSA, or any of the Definitive Documents shall require a Debtor
                           or the board of directors, board of managers, or similar governing body of a

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         [NTD: Provision to be mirrored in the RSA].




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            Debtor, after consulting with counsel, to take any action or to refrain from
            taking any action with respect to the Restructuring to the extent taking or
            failing to take such action would be inconsistent with applicable law or its
            fiduciary obligations under applicable law, and any such action or inaction
            pursuant to this provision shall not be deemed to constitute a breach of the
            RSA, this Term Sheet, or any of the Definitive Documents.

            The Debtors may terminate the RSA, this Term Sheet or any Definitive
            Document if the board of directors, board of managers, or such similar
            governing body of any Debtor determines, after consulting with counsel
            and, after prompt written notice to counsel to the Consenting Creditors, (i)
            that proceeding with any of the transactions comprising the Restructuring
            would be inconsistent with the exercise of its fiduciary duties or applicable
            law or (ii) in the exercise of its fiduciary duties, to pursue an Alternative
            Restructuring Proposal.




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                            ANNEX 1

                          Defined Terms
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                                    Defined Terms

“Ad Hoc Noteholder   The ad hoc group of Senior Noteholders represented by Paul, Weiss,
Group”               Rifkind, Wharton & Garrison LLP, as counsel, and PJT Partners LP, as
                     financial advisor.

“Administrative      Any right to payment constituting a cost or expense of administration
Expense Claim”       incurred during the Chapter 11 Cases of a kind specified under section
                     503(b) of the Bankruptcy Code and entitled to priority under sections
                     507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including (i)
                     the actual and necessary costs and expenses incurred after the Petition
                     Date and through the Effective Date of preserving the Estates and
                     operating the businesses of the Debtors (such as wages, salaries, or
                     commissions for services and payments for goods and other services
                     and leased premises), (ii) Fee Claims, and (iii) Restructuring Expenses.

“Allowed”            With reference to any Claim or Interest, (i) any Claim or Interest arising
                     on or before the Effective Date (a) as to which no objection to
                     allowance has been interposed within the time period set forth in the
                     Plan or (b) as to which any objection has been determined by a Final
                     Order of the Bankruptcy Court to the extent such objection is
                     determined in favor of the respective holder, (ii) any Claim or Interest
                     as to which the liability of the Debtors and the amount thereof are
                     determined by a Final Order of a court of competent jurisdiction other
                     than the Bankruptcy Court, or (iii) any Claim or Interest expressly
                     allowed under the Plan; provided, however, that notwithstanding the
                     foregoing, the Reorganized Debtors will retain all claims and defenses
                     with respect to Allowed Claims that are reinstated or otherwise
                     unimpaired pursuant to the Plan.
                     Any inquiry, proposal, offer, bid, term sheet, discussion, or agreement
“Alternative
                     with respect to a sale, disposition, new-money investment,
Restructuring
                     restructuring, reorganization, merger, amalgamation, acquisition,
Proposal”
                     consolidation, dissolution, debt investment, equity investment,
                     liquidation, asset sale, share issuance, tender offer, exchange offer,
                     recapitalization, plan of reorganization, share exchange, business
                     combination, joint venture, or similar transaction involving the
                     Company or the debt, equity, or other interests in the Company that is
                     an alternative to one or more of the transactions comprising the
                     Restructuring.

“Amended             The forms of certificate of incorporation, certificate of formation,
Organizational       bylaws, limited liability company agreements, shareholder agreement
Documents”           (if any), or other similar organizational documents, as applicable, of the
                     Reorganized Parent.
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                                      Defined Terms

“Business Day”        Any day other than a Saturday, a Sunday, or any other day on which
                      banking institutions in New York, New York are authorized or required
                      by law or executive order to close.

“Cash”                Legal tender of the United States of America.

“Cause of Action”     Any action, claim, cross-claim, third-party claim, cause of action,
                      controversy, dispute, demand, right, lien, indemnity, contribution,
                      guaranty, suit, obligation, liability, loss, debt, fee or expense, damage,
                      interest, judgment, cost, account, defense, remedy, offset, power,
                      privilege, proceeding, license, and franchise of any kind or character
                      whatsoever, known, unknown, foreseen or unforeseen, existing or
                      hereafter arising, contingent or non-contingent, matured or unmatured,
                      suspected or unsuspected, liquidated or unliquidated, disputed or
                      undisputed, secured or unsecured, assertable directly or derivatively
                      (including any alter ego theories), whether arising before, on, or after
                      the Petition Date, in contract or in tort, in law or in equity or pursuant to
                      any other theory of law (including under any state or federal securities
                      laws). For the avoidance of doubt, Cause of Action also includes
                      (i) any right of setoff, counterclaim, or recoupment and any claim for
                      breach of contract or for breach of duties imposed by law or in equity,
                      (ii) the right to object to Claims or Interests, (iii) any claim pursuant to
                      section 362 or chapter 5 of the Bankruptcy Code, (iv) any claim or
                      defense including fraud, mistake, duress, and usury and any other
                      defenses set forth in section 558 of the Bankruptcy Code, and (v) any
                      state law fraudulent transfer claim.

“Chapter 11 Cases”    The jointly administered cases under chapter 11 of the Bankruptcy
                      Code commenced by the Debtors on the Petition Date in the
                      Bankruptcy Court.

“Claim”               A “claim,” as defined in section 101(5) of the Bankruptcy Code, as
                      against any Debtor.

“Confirmation Date”   The date on which the Bankruptcy Court enters the Confirmation
                      Order.




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                                      Defined Terms

“Confirmation Order” The order of the Bankruptcy Court confirming the Plan in the Chapter
                     11 Cases.

“Consenting            Those Senior Noteholders that are signatories to the RSA, and any
Creditors”             subsequent Senior Noteholder that becomes party thereto in accordance
                       with the terms of the RSA.

“Consenting Creditor   The reasonable and documented fees and expenses incurred by the
Restructuring          Consenting Creditors’ advisors pursuant to the terms of their fee letters,
Expenses”              including, without limitation, (i) the reasonable and documented fees
                       and expenses of Paul, Weiss, Rifkind, Wharton & Garrison, LLP, (ii)
                       the reasonable and documented fees and expenses of Porter Hedges
                       LLP and (iii) all monthly fees, restructuring, transaction and back-end
                       fees payable to PJT Partners LP under and pursuant to its engagement
                       letter, dated [March 31], 2020, executed by the Company, all of which
                       fees shall be deemed reasonable for all purposes hereunder.

“Debtor                The reasonable and documented fees and expenses of Kirkland & Ellis
Restructuring          LLP, Alvarez & Marsal North America, LLC, Moelis and Company,
Expenses”              and local counsel to the Company, in each case that are due and owing
                       after receipt of applicable invoices consistent with any applicable
                       engagement letters, provided that with respect to fees and expenses
                       incurred prior to the Confirmation Date, such fees and expenses must
                       have been approved by an order of the Bankruptcy Court.

“Disclosure            The disclosure statement in respect of the Plan, including all exhibits
Statement”             and schedules thereto, as approved or ratified by the Bankruptcy Court
                       pursuant to section 1125 of the Bankruptcy Code.

“DTC”                  The Depository Trust Company.

“Effective Date”       The date upon which all conditions to the effectiveness of the Plan have
                       been satisfied or waived in accordance with the terms thereof and the
                       Plan becomes effective.

“Entity”               An “entity,” as defined in section 101(15) of the Bankruptcy Code.

“Estate(s)”            Individually or collectively, the estate or estates of the Debtors created
                       under section 541 of the Bankruptcy Code.




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                                       Defined Terms

“Exculpated Parties”   Collectively, (i) the Debtors, (ii) the Reorganized Debtors, (iii) the
                       Consenting Creditors, (iv) the Ad Hoc Noteholder Group (v) any
                       statutory committee appointed in the Chapter 11 Cases, and (vi) with
                       respect to each of the foregoing Persons in clauses (i) through (v), such
                       Person’s predecessors, successors, assigns, subsidiaries, affiliates,
                       current and former officers and directors, principals, equity holders,
                       members, partners, managers, employees, agents, advisory board
                       members, financial advisors, attorneys, accountants, investment
                       bankers, consultants, representatives, management companies, fund
                       advisors, and other professionals, and such Person’s respective heirs,
                       executors, estates, and nominees, in each case in their capacity as such.

“Existing Equity       Shares of the class of common stock of Parent that existed immediately
Interests”             prior to the Effective Date, including any restricted stock of Parent that
                       vests prior to the Effective Date.

“Exit Facility”        The financing to be provided to the Reorganized Debtors on the
                       Effective Date in accordance with the Plan and a commitment letter to
                       be entered into by the Debtors and the providers of the Exit Facility,
                       which financing will include a revolving or delayed-draw term loan
                       credit facility with a minimum borrowing base and commitment
                       amount on terms to be mutually agreed between the Company and the
                       Requisite Creditors.

“Fee Claim”            A Claim for professional services rendered or costs incurred on or after
                       the Petition Date through the Confirmation Date by professional
                       persons retained by an order of the Bankruptcy Court pursuant to
                       sections 327, 328, 329, 330, 331, or 503(b) of the Bankruptcy Code in
                       the Chapter 11 Cases.

“Final Order”          An order or judgment of a court of competent jurisdiction that has been
                       entered on the docket maintained by the clerk of such court, which has
                       not been reversed, vacated, or stayed and as to which (i) the time to
                       appeal, petition for certiorari, or move for a new trial, reargument, or
                       rehearing has expired and as to which no appeal, petition for certiorari,
                       or other proceedings for a new trial, reargument, or rehearing shall then
                       be pending, or (ii) if an appeal, writ of certiorari, new trial, reargument,
                       or rehearing thereof has been sought, such order or judgment shall have
                       been affirmed by the highest court to which such order was appealed, or
                       certiorari shall have been denied, or a new trial, reargument, or
                       rehearing shall have been denied or resulted in no modification of such
                       order, and the time to take any further appeal, petition for certiorari, or
                       move for a new trial, reargument, or rehearing shall have expired;
                       provided, however, that no order or judgment shall fail to be a “Final


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                                       Defined Terms
                       Order” solely because of the possibility that a motion under Rules 59 or
                       60 of the Federal Rules of Civil Procedure or any analogous
                       Bankruptcy Rule (or any analogous rules applicable in another court of
                       competent jurisdiction) or sections 502(j) or 1144 of the Bankruptcy
                       Code has been or may be filed with respect to such order or judgment.

“Intercompany          Any Claim against a Debtor held by another Debtor.
Claim”

“Intercompany          Any Interest in a Debtor held by another Debtor; provided that no
Interest”              Existing Equity Interest shall be an Intercompany Interest.

“Interest”             Any equity interest (as defined in section 101(16) of the Bankruptcy
                       Code) in the Company, including all ordinary shares, units, common
                       stock, preferred stock, membership interest, partnership interest or other
                       instrument, evidencing any fixed or contingent ownership interest in the
                       Company, whether or not transferable, including any option, warrant, or
                       other right, contractual or otherwise, to acquire any such interest in the
                       Company, that existed immediately before the Effective Date.

“New Common            Shares of common stock of Reorganized Parent.
Shares”

“Other Equity          All Interests in Parent other than Existing Equity Interests.
Interests”

“Other Priority        Any Claim that is entitled to priority of payment as specified in section
Claim”                 507(a) of the Bankruptcy Code, other than an Administrative Expense
                       Claim or a Priority Tax Claim.

“Other Secured         A Secured Claim other than a Priority Tax Claim, or a Revolving Credit
Claim”                 Agreement Claim.

“Person”               Any individual, corporation, partnership, joint venture, association,
                       joint stock company, limited liability company, limited partnership,
                       trust, estate, unincorporated organization, governmental unit (as defined
                       in section 101(27) of the Bankruptcy Code), or other Entity.

“Plan”                 The chapter 11 plan of reorganization of the Company implementing
                       the Restructuring, including all appendices, exhibits, schedules, and
                       supplements thereto, as may be modified from time to time in
                       accordance with its terms and the RSA.

“Priority Tax Claim”   Any Secured Claim or unsecured Claim of a governmental unit of the
                       kind entitled to priority of payment as specified in sections 502(i) and


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                                      Defined Terms
                      507(a)(8) of the Bankruptcy Code.

“Pro Rata”            The proportion that an Allowed Claim or Interest in a particular class
                      bears to the aggregate amount of Allowed Claims or Interests in that
                      class.

“Registered Holder”   A holder of Existing Equity Interests whose ownership interest is
                      registered directly on the books and records of the Company’s transfer
                      agent.

“Released Parties”    Collectively, (i) the Consenting Creditors, (ii) the Ad Hoc Noteholder
                      Group, (iii) the Senior Notes Trustee, (iv) the arrangers, agents and
                      lenders under the Exit Facility, (v) the Revolving Credit Agreement
                      Agent and the Revolving Credit Agreement Lenders, (vi) any Releasing
                      Party, (vii) with respect to each of the foregoing Persons, in clauses (i)
                      through (vi), each of their affiliates, and (viii) with respect to each of
                      the foregoing Persons in clauses (i) through (vii), such Person’s
                      predecessors, successors, assigns, subsidiaries, affiliates, current and
                      former officers and directors, principals, equity holders, members,
                      partners, managers, employees, agents, advisory board members,
                      financial advisors, attorneys, accountants, investment bankers,
                      consultants, representatives, management companies, fund advisors,
                      and other professionals, and such Person’s respective heirs, executors,
                      estates, and nominees, in each case in their capacity as such.

“Releasing Parties”   Collectively, (i) the holders of all Claims or Interests who vote to
                      accept the Plan, (ii) the holders of all Claims or Interests whose vote to
                      accept or reject the Plan is solicited but who do not vote either to accept
                      or to reject the Plan, (iii) the holders of all Claims or Interests who vote,
                      or are deemed, to reject the Plan but do not opt out of granting the
                      releases set forth herein, (iv) the holders of all Claims and Interests who
                      were given notice of the opportunity to opt out of granting the releases
                      set forth herein but did not opt out, (v) all other holders of Claims and
                      Interests to the maximum extent permitted by law, (vi) the Consenting
                      Creditors, (vii) the Ad Hoc Noteholder Group, (viii) the Senior Notes
                      Trustee, (ix) the arrangers, agents and lenders under the Exit Facility,
                      (x) the Revolving Credit Agreement Agent and the Revolving Credit
                      Agreement Lenders, (xi) any Releasing Party, (xii) with respect to each
                      of the foregoing Persons, in clauses (i) through (xi), each of their
                      affiliates, and (xiii) with respect to each of the foregoing Persons in
                      clauses (i) through (xii), such Person’s predecessors, successors,
                      assigns, subsidiaries, affiliates, current and former officers and
                      directors, principals, equity holders, members, partners, managers,
                      employees, agents, advisory board members, financial advisors,



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                                        Defined Terms
                        attorneys, accountants, investment bankers, consultants, representatives,
                        management companies, fund advisors, and other professionals, and
                        such Person’s respective heirs, executors, estates, and nominees, in
                        each case in their capacity as such.

“Reorganized            Each of the Debtors as reorganized on the Effective Date in accordance
Debtors”                with the Plan.

“Reorganized Parent”    Parent as reorganized on the Effective Date in accordance with the
                        Plan.

“Requisite Creditors”   As of the date of determination, at least two (2) members of the Ad Hoc
                        Noteholder Group that have signed the RSA holding a majority of the
                        outstanding Senior Notes held by the Ad Hoc Noteholder Group that
                        have signed the RSA as of such date.

“Restructuring          All Creditor Restructuring Expenses and Debtor Restructuring
Expenses”               Expenses.

“Senior Notes           The Bank of New York Mellon Trust Company, N.A., as trustee under
Trustee”                the Senior Notes indentures and its successors, assigns, or any
                        replacement trustee appointed pursuant to the terms of the Senior Notes
                        Indenture.

“Secured Claim”         A Claim (i) secured by a lien on collateral to the extent of the value of
                        such collateral as (a) set forth in the Plan, (b) agreed to by the holder of
                        such Claim and the Debtors, or (c) determined by a Final Order in
                        accordance with section 506(a) of the Bankruptcy Code, or (ii) secured
                        by the amount of any right of setoff of the holder thereof in accordance
                        with section 553 of the Bankruptcy Code.

“Securities Act”        Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, and any
                        rules and regulations promulgated thereby.

“Solicitation           Collectively, the Disclosure Statement and the related solicitation
Materials”              materials.

“Unimpaired”            With respect to a Claim, Interest, or a class of Claims or Interests, not
                        “impaired” within the meaning of sections 1123(a)(4) and 1124 of the
                        Bankruptcy Code.

“Warrants”              Warrant-A issued to holders of Existing Equity Interests pursuant to the
                        Plan as of the Effective Date that will be exercisable on a non-cash
                        basis for a 4-year period after the Effective Date for a number of shares
                        equal to 10% of the New Common Shares issued and outstanding as of


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                                   Defined Terms
                    the Effective Date in an amount equal to an implied 110% recovery to
                    Senior Noteholders on account of the Senior Notes Claims, inclusive of
                    non-default interest under the Senior Notes through the date of such
                    exercise calculated as though the Senior Notes remained outstanding
                    through the date of such exercise and all accrued and unpaid interest
                    had been added to the outstanding principal amount of the Notes daily;
                    and Warrant-B issued to holders of Existing Equity Interests pursuant to
                    the Plan as of the Effective Date that will be exercisable on a non-cash
                    basis for a 5-year period after the Effective Date for a number of shares
                    equal to 5% of the New Common Shares issued and outstanding as of
                    the Effective Date in an amount equal to an implied 125% recovery to
                    Senior Noteholders on account of the Senior Notes Claims, inclusive of
                    non-default interest under the Senior Notes through the date of such
                    exercise calculated as though the Senior Notes remained outstanding
                    through the date of such exercise and all accrued and unpaid interest
                    had been added to the outstanding principal amount of the Notes daily;
                    and; provided, however, that to the extent DTC requirements are
                    applicable, if DTC is not able to provide for daily accretion, the
                    Consenting Creditors agree to negotiate in good faith with the Debtors
                    on alternative accretion schedules to address any such impediment.

“Warrant Equity”    The New Common Shares issuable upon the exercise of the Warrants,
                    subject to dilution by the MIP Equity.




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                             Exhibit A

                Form of Interim Cash Collateral Order

                  [INTENTIONALLY OMITTED]
